

Matter of Zylinski v DiNunzio (2019 NY Slip Op 06338)





Matter of Zylinski v DiNunzio


2019 NY Slip Op 06338


Decided on August 22, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on August 22, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., PERADOTTO, CARNI, LINDLEY, AND CURRAN, JJ.


717 CAF 17-01977

[*1]IN THE MATTER OF CHARLENE N. ZYLINSKI, PETITIONER-APPELLANT,
vMICHAEL E. DINUNZIO, RESPONDENT-RESPONDENT. (APPEAL NO. 2.) 






CHARLES J. GREENBERG, AMHERST, FOR PETITIONER-APPELLANT.
HOGANWILLIG, PLLC, AMHERST (REBECCA M. KUJAWA OF COUNSEL), FOR RESPONDENT-RESPONDENT. 
KELLY L. BALL, BUFFALO, ATTORNEY FOR THE CHILD. 


	Appeal from an order of the Family Court, Erie County (Deanne M. Tripi, J.), entered January 26, 2017 in a proceeding pursuant to Family Court Act article 8. The order dismissed the petition. 
It is hereby ORDERED that said appeal is dismissed except insofar as Charlene N. Zylinski challenges the validity of her waiver of the right to counsel, and the order is affirmed without costs.
Same memorandum as in Matter of DiNunzio v Zylinski ([appeal No. 1] — AD3d — [Aug. 22, 2019] [4th Dept 2019]).
Whalen, P.J., Peradotto and Lindley, JJ., concur; Curran, J., dissents and votes to dismiss appeal Nos. 1-5 in the same dissenting memorandum as in Matter of DiNunzio v Zylinski ([appeal No. 1] — AD3d — [Aug. 22, 2019] [4th Dept 2019]); Carni, J., dissents and votes to dismiss appeal Nos. 1-5 in the same dissenting memorandum as in Matter of DiNunzio v Zylinski ([appeal No. 1] — AD3d — [Aug. 22, 2019] [4th Dept 2019]).
Entered: August 22, 2019
Mark W. Bennett
Clerk of the Court








